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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:

JEANNA SUE REEDY                                      Case No.: 8:18-bk-09240-RCT
                                                      Chapter: 7
         Debtor.
                                                  /

                        QUICKEN LOANS INC.’S VERIFIED
                   MOTION FOR RELIEF FROM AUTOMATIC STAY


         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the proof of service, plus an additional three days for
service if any party was served by U.S. Mail.
        If you object to the relief requested in this paper, you must file your response with
the Clerk of the Court at 801 N. Florida Avenue, 5th Floor, Tampa, Florida 33602 and
serve a copy on the movant’s attorney, McCalla Raymer Leibert Pierce, LLC, 110 S.E. 6th
Street, Suite 2400, Ft. Lauderdale, FL 33301, and any other appropriate persons within the
time allowed. If you file and serve a response within the time permitted, the Court may
schedule and notify you of a hearing, or the Court may consider the response and may
grant or deny the relief requested without a hearing.
        If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


Quicken Loans Inc. (the “Secured Creditor”), its successors and/or assigns, as a secured creditor

of the bankruptcy estate of Jeanna Sue Reedy (the “Debtor”), seeks relief from the automatic stay

pursuant to 11 U.S.C. § 362(d), and in support thereof, states as follows:

         1.    Debtor's Bankruptcy Case. On October 26, 2018, the Debtor filed the above-

captioned Chapter 7 bankruptcy case.

         2.    Jurisdiction. Jurisdiction of this matter is properly before this Court pursuant to

28 U.S.C. § 1334 and Rule 4001(a) of the Federal Rules of Bankruptcy Procedure.
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       3.        The Note and Mortgage.      On April 22, 2016, the Debtor, Jeanna S. Reedy,

executed and delivered a note (the “Note”) in the principal amount of $58,600.00, which is

secured by a mortgage (the “Mortgage”). The Mortgage is recorded with a File Number 2016-

00023079, of the Public Records of Montgomery County, Ohio. A copy of the Mortgage,

together with the Note, and any applicable Assignments, are attached hereto as Exhibit A, B and

C.

       4.        Collateral. Secured Creditor is entitled to enforce the Note and Mortgage, which

are secured by the real property (the “Property”) located at 4079 Navajo Ave, Dayton, Ohio

45424-2826 and further described as follows:




       5.        Secured Creditor’s Claim. The Debtor owes Secured Creditor an outstanding

principal balance of $56,288.96, plus applicable interest, penalties, fees and costs, and has

defaulted by failing to make the payment due on September 1, 2018, and all subsequent

payments due thereafter.

       6.        Relief Requested. Secured Creditor requests the entry of an order modifying the

automatic stay pursuant to 11 U.S.C. § 362(d) to permit Secured Creditor to enforce all of its in

rem remedies against the Property pursuant to the Note and Mortgage. The requested relief

should be granted for the following reasons:


                Since the instant case is a Chapter 7 bankruptcy, the Property is not
                 necessary to an effective reorganization;
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                Debtor’s Statement of Intention provides for the surrender of the property;

                Interest continues to accrue; and

                Property taxes continue to accrue.

       7.        Request for Attorney’s Fees and Costs. Secured Creditor requests attorney’s fees

in the amount of $350.00 and costs of $181.00, as a result of filing the instant motion.

       8.        Request for Waiver of 14-Day Stay of Relief. Secured Creditor requests that the

14 day stay, pursuant to Fed. R. Bankr. P. 4001(a)(3), be waived.

       Wherefore, Secured Creditor requests the entry of an order modifying the automatic stay

and for such other and further relief as the Court deems just and proper.


                                                      McCalla Raymer Leibert Pierce, LLC

                                            By:        /s/ Austin Noel
                                                      Austin Noel
                                                      Florida Bar No. 106539
                                                      Attorney for Creditor
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